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                                       Steve Johnson
                                    September 23, 2022

 · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · ·FOR THE DISTRICT OF COLORADO
 · · · · · · · · CIVIL ACTION NO.: 1:21-cv-3417-NYW

 ·

 · · ·HOLLY KLUTH,

 · · · · · · · ·Plaintiff,

 · · ·vs.

 · · ·TONY SPURLOCK, Individually and in
 · · ·his official capacity as Douglas
 · · ·County Sheriff,

 · · · · · · · ·Defendant.

 · · ·___________________________________/

 ·

 · · · · · · · · · ·DEPOSITION OF STEVE JOHNSON

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 ·

 · · · · · DATE TAKEN:· · September 23, 2022

 · · · · · TIME:· · · · · 9:41 a.m. - 4:44 p.m. MT

 · · · · · LOCATION:· · · RATHOD MOHAMEDBHAI LLC,
 · · · · · · · · · · · · ·2701 Lawrence Street
 · · · · · · · · · · · · ·Denver, Colorado 80205

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 · · ·Reported By:

 · · ·Jessica Wharton, Court Reporter

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 ·1· · · · A.· ·This has to do with the core hours for the

 ·2· ·Administrative Services Bureau of Captains.

 ·3· · · · Q.· ·So the bottom email on the chain is from you

 ·4· ·to Brad Heyden, Timothy Moore, and Holly Kluth

 ·5· ·regarding essentially working Monday through Friday,

 ·6· ·8:00 to 5:00; is that right?

 ·7· · · · A.· ·Yes.

 ·8· · · · Q.· ·Why did you send this email?

 ·9· · · · A.· ·Probably for the continuity of my operation.

 10· ·It also, in addition to the regular business

 11· ·hours -- it also states, I understand that you may

 12· ·need some flexibility on particular days underlined,

 13· ·and I will work with you on those individually, but my

 14· ·expectation is that you're here Monday through Friday,

 15· ·8:00 to 5:00.· I understand this to be the

 16· ·exception -- excuse me, expectation for all of the

 17· ·captains.

 18· · · · Q.· ·So you wanted to set that expectation for

 19· ·your reports?

 20· · · · A.· ·Yes.

 21· · · · Q.· ·Did you have any issue with Ms. Kluth

 22· ·meeting that expectation?

 23· · · · A.· ·Not overall, no.

 24· · · · Q.· ·And on the top email, that's from you to

 25· ·Kevin Duffy, you say, I explained to this Captain


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 ·1· ·Kluth.· She got all sorts of snippy with me about this

 ·2· ·and stomped out of my office and acted very

 ·3· ·unprofessional which I will not stand for.

 ·4· · · · · · ·Do you see that?

 ·5· · · · A.· ·I do see that.

 ·6· · · · Q.· ·What did you -- why did you send this email

 ·7· ·to Kevin Duffy?

 ·8· · · · A.· ·The only thing that I can figure that I sent

 ·9· ·to Kevin Duffy is that this is something that the

 10· ·undersheriff put out as needed, that he wanted both

 11· ·bureaus to be following at that time.

 12· · · · · · ·And so in communication with the

 13· ·other -- and I can only surmise that that's why I did

 14· ·it, I sent this to Kevin Duffy.

 15· · · · Q.· ·Did you recall that conversation with

 16· ·Ms. Kluth where you explained the core hours to her?

 17· · · · A.· ·Not any further than what's in the email.

 18· · · · Q.· ·Did you ever bring Ms. Kluth's demeanor to

 19· ·anyone else's attention other than Kevin Duffy's?

 20· · · · A.· ·I may have; I may not have.· I -- I don't

 21· ·know.

 22· · · · Q.· ·Do you recall what Ms. Kluth did that caused

 23· ·you to say that she was snippy with you?

 24· · · · A.· ·No, other than being snippy.

 25· · · · Q.· ·What does that mean to you?


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 ·1· ·perspective, was Ms. Kluth meeting the mission,

 ·2· ·vision, and values of the agency at the time she was

 ·3· ·captain in the detentions?

 ·4· · · · A.· ·At the time that she was the captain of the

 ·5· ·detentions bureau, Captain Kluth was -- was meeting my

 ·6· ·expectations in the very brief period of time that I

 ·7· ·had her.· Granted also, obviously, I felt compelled to

 ·8· ·document that at one day in one small snapshot in

 ·9· ·time, she was snippy and stormed out of my office.

 10· · · · · · ·I can't rule out that she has a example of

 11· ·me being snippy and storming out of her office.

 12· · · · Q.· ·But that one example where you thought she

 13· ·was snippy, that would be outweighed by her positive

 14· ·attributes --

 15· · · · A.· ·Yes.

 16· · · · Q.· ·-- she's had to the agency?

 17· · · · A.· ·Yes.

 18· · · · Q.· ·I think you touched on this earlier.· But

 19· ·your political affiliation is as an independent?

 20· · · · A.· ·Was as an independent.

 21· · · · Q.· ·And has it changed?

 22· · · · A.· ·Yes.

 23· · · · Q.· ·What is it now?

 24· · · · A.· ·Again, I'm just going to have to ask, how is

 25· ·that relevant?


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 ·1· · · · · · · · · ·CERTIFICATE OF REPORTER

 ·2

 ·3· ·STATE OF COLORADO· ·)

 ·4· ·COUNTY OF DENVER )

 ·5

 ·6· · · · I, Jessica Wharton, Court Reporter, do hereby

 ·7· ·certify that I was authorized to and did

 ·8· ·electronically report the deposition of STEVE JOHNSON;

 ·9· ·that the STEVE JOHNSON was duly sworn on the date

 10· ·indicated; that the questions and answers thereto were

 11· ·reduced to typewriting under my direction; that a

 12· ·review of the transcript was requested; and that the

 13· ·foregoing is a true and accurate electronic recording

 14· ·of the proceedings.

 15· · · · I FURTHER CERTIFY that I am not a relative,

 16· ·employee, or attorney, or counsel of any of the

 17· ·parties, nor am I a relative or employee of any of the

 18· ·parties' attorneys or counsel connected with the

 19· ·action, nor am I financially interested in the action.

 20· · · · DATED this 10th day of October 2022.

 21

 22
 · · · · · _______________________________
 23· · · · Jessica Wharton, Court Reporter

 24

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 ·1· · · · · · · ·CERTIFICATE OF TRANSCRIPTIONIST

 ·2

 ·3· · · · I, Christine Urrego, do hereby certify that I

 ·4· ·transcribed the electronic recording produced by

 ·5· ·Jessica Wharton, Court Reporter, of the deposition of

 ·6· ·STEVE JOHNSON; and that the foregoing transcript is a

 ·7· ·true transcript of said electronic recording.

 ·8

 ·9· · · · I FURTHER CERTIFY that I am not a relative,

 10· ·employee, attorney, or counsel of any of the parties,

 11· ·nor am I a relative or employee of any of the parties'

 12· ·attorneys or counsel connected with the action, nor am

 13· ·I financially interested in the action.

 14

 15· · · · · · ·DATED this 10th day of October 2022.

 16

 17

 18· · · · · · ·__________________________________
 · · · · · · · ·Christine Urrego
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